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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF DELAWARE


 IN RE GOOGLE INC. COOKIE                Case No. 12-MD-2358-ER
 PLACEMENT CONSUMER PRIVACY
 LITIGATION




 This Document Relates to:
 All Actions




     [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION
                    SETTLEMENT AND JUDGMENT
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        WHEREAS, this matter has come before the Court pursuant to Plaintiffs’ Motion for

Final Approval of Class Action Settlement with Defendant Google Inc. (the “Motion”);

        WHEREAS, the Court finds that it has jurisdiction over this action and each of the parties

for purposes of settlement;

        WHEREAS, the Court has held a Final Fairness Hearing on ___________________; and

        WHEREAS, the Court has considered all of the submissions related to the Motion and is

otherwise fully advised in the premises;

        IT IS HEREBY ORDERED THAT:

        1. The terms of the Settlement Agreement between Plaintiffs and Defendant Google Inc.

(“Defendant” or “Google”), dated June 30, 2016 (the “Agreement”), attached as Exhibit A to the

Declaration of Brian R. Strange filed in support of the Motion, are hereby approved. This Order

incorporates herein, and makes a part hereof, the Agreement. Unless otherwise provided herein,

the terms defined in the Agreement shall have the same meanings herein. The Agreement was

entered into only after extensive arm’s-length negotiations by experienced counsel. The Court

finds that effective Notice of the Proposed Agreement was given to the Class and that the Class

Settlement embodied in the Agreement (the “Class Settlement”) is fair, reasonable, and adequate.

In making this determination, the Court has considered the current posture of this litigation and

the risks and benefits to the parties involved in both settlement of these claims and continuation

of the litigation.

           2.   The Settlement Class1 is defined and certified as follows:



1
  Excluded from the Class are (1) Google, its parent, subsidiaries, successors, affiliates, officers,
and directors; (2) the judge(s) to whom this case is assigned and any member of the judge’s or
judges’ immediate family; (3) Persons who have settled with and released Google from
individual claims substantially similar to those alleged in the Litigation; and (4) Persons who
submit a valid and timely Request for Exclusion.
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       All persons in the United States of America who used the Apple Safari or Microsoft
       Internet Explorer web browsers and who visited a website from which
       Doubleclick.net (Google’s advertising serving service) cookies were placed by the
       means alleged in the Complaint.2

          3.   The Court finally finds that the Settlement Class meets all the applicable

requirements of Federal Rules of Civil Procedure 23(a), 23(b)(2), and (b)(3) and hereby

certifies the Settlement Class. The Court hereby finds, in the specific context of the Class

Settlement, that:

          a. Numerosity

          The Settlement Class consists of millions of members located throughout the
          United States and satisfies the numerosity requirement of Federal Rule of Civil
          Procedure 23(a). Joinder of these widely dispersed, numerous Settlement
          Class Members into one suit would be impracticable.

          b. Commonality

          Common questions of law and fact, with regard to the alleged activities of
          Google, exist for each of the Settlement Class Members. These issues are
          central to this case and are sufficient to establish commonality.

          c. Typicality

          Plaintiffs’ claims in this litigation are typical of the claims of the Settlement
          Class Members. Therefore, in the context of this Settlement, the element of
          typicality is satisfied.

          d. Adequate Representation

          Plaintiffs’ interests do not conflict, and are co-extensive, with those of absent
          Settlement Class Members. Additionally, this Court recognizes the experience
          of Class Counsel—Strange LLP, Bartimus, Frickleton & Robertson, P.C., and
          Silverman, Thompson, Slutkin, White—and finds under Federal Rule of Civil


2
  The Complaint alleges that in 2011–2012, users of Apple Safari or Microsoft Internet Explorer
web browsers that were set to accept cookies only from “visited” sites or to block cookies from
“third parties and advertisers” who visited a non-Google website containing an advertisement
served by Doubleclick.net (Google’s advertising serving service) and who did not already have a
cookie from the Doubleclick.net domain would have received one as a result of this visit because
of means employed by Google to set cookies under these circumstances.


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          Procedure 23(g), that the requirement of adequate representation of the
          Settlement Class Members has been fully met.

          e. Rule 23(b)(2)

          As to the remedial relief provided by the Settlement Agreement, Google has
          acted on grounds that apply generally to the Settlement Class, so that final
          injunctive relief is appropriate respecting the Settlement Class as a whole.

          f. Rule 23(b)(3)

          The proposed Class is sufficiently cohesive to warrant adjudication by
          representation such that issues common to the Class predominate over any
          individual issues. Further, a class action is superior to other available methods
          for fairly and efficiently adjudicating the controversy.

          4.   The Court appoints Named Plaintiffs Jose M. (“Josh”) Bermudez,

Nicholas Todd Heinrich, and Lynn Krause as Class Representatives. Based upon the

Court’s familiarity with the claims and parties, the Court finally finds that these

designated representatives are appropriate representatives for settlement purposes and

appoints them as Class Representatives.

          5.   The Court further finds that the following firms fairly and adequately

represent the interests of the Settlement Class and hereby confirms them as Settlement

Class Counsel pursuant to Federal Rule of Civil Procedure 23(g): Strange LLP, Bartimus,

Frickleton & Robertson, P.C., and Silverman Thompson Slutkin White.

          6.   The Court has considered the notice to Class Members that were made consistent

with the Settlement Agreement and the Court’s Order Preliminarily Approving the Settlement

(D.I. 203, 205), and finds that the forms, content, and manner of Notice meet the requirements of

due process and Federal Rule of Civil Procedure 23(c) and (e), constitute reasonable, sufficient,

and appropriate notice under the circumstances, and satisfy the constitutional requirements of

notice. The Court further finds that the Notice Program constituted the best notice practicable



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under the circumstances given the size of the Settlement Class, the lack of addresses for direct

notice, and the method by which Class Members were allegedly harmed.

          7.   The Court finds that the persons identified in Exhibit A attached hereto have

timely and validly requested exclusion from the Class, and are, therefore, excluded accordingly.

Such persons are not included in or bound by the Final Judgment in this Action. Such persons

are not entitled to any recovery obtained through this Settlement.

          8.   The Court, having considered the timely objections to the Settlement, as well as

Plaintiffs’ responses filed on August 8, 2022, and any oral argument as to these objections, hereby

overrules all such objections.

          9.   The Court hereby dismisses on the merits and with prejudice the claims asserted

in the Litigation by Plaintiffs against Google.

          10. In accordance with the terms of the Settlement, the Releasing Parties hereby fully,

finally, and forever release, relinquish, and discharge against each of the Released Parties and all

persons acting through, under, or in concert with each such Released Party, all claims in the

Action. Specifically, the Releasing Parties release any and all past, present, or future claims,

causes of action, suits, petitions, demands in law or equity, or any allegations of liability or

damages, debts, contracts, agreements, obligations, promises, attorneys’ fees, costs, interest ,or

expenses that have been, may be, or could be asserted in the Action, arising out of, or relating to

the Litigation or the subject matter of the Litigation.

          11. Without affecting the finality of the Final Judgment in any way, the Court hereby

retains continuing and exclusive jurisdiction over and for the purposes of: (a) implementation of

the Settlement and the distribution(s) to cy pres recipients as authorized under the Settlement; (b)

Defendants until the Final Judgment contemplated hereby has become effective and each and



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every act agreed to be performed by the Parties has been performed pursuant to the Settlement;

and (c) all Parties and Class Members for the purpose of enforcing and administering the

Settlement.

          12. In the event the Settlement does not become effective, then the judgment shall be

rendered null and void and shall be vacated and, in such event, all orders entered and releases

delivered in connection herewith shall be null and void and the Parties shall be returned to their

respective positions ex ante.

          13. The Court finds, pursuant to Federal Rules of Civil Procedure 54(a) and 54(b),

that Final Judgment should be entered as to the Parties in this Litigation. Accordingly the Clerk

is hereby directed to enter judgment forthwith.

          IT IS SO ORDERED.




Date: ________________________                               ______________________________
                                                             Hon. Eduardo C. Robreno
                                                             United States District Judge




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               EXHIBIT A
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                 Google Cookie Placement Consumer Privacy Litigation
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                            2016                                            2022
                                               Exclusion Request
       Tracking                                         Tracking   RE-NOTICE
                    CLASS MEMBER NAME        STATUS                                           STATUS
       Number                                           Number     CLASS MEMBER NAME
       59E7A68549   CHARLES E RICHARDSON     Incomplete      1     SHAWN HOLMES                 Incomplete
       E2D29C8163   UNITA FAY MITCHELL       Incomplete      2     RAUL MENDOZA                  Complete
       B4E535D02C   AKIKO DUNN                Complete       3     ERNEST ROBINSON               Complete
       C395C9BF85   ALAN LANSING              Complete       4     JOHANNA R SILVA               Complete
       609F01BCE3   ALEKSANDR Y SHINKAREV     Complete       5     LORENE BANKS                  Complete
       5004E9094B   ALESIA JACKSON            Complete       6     LEROY EARLE                   Complete
       D8576D76A5   ANDREY SHLOMOVICH         Complete       7     OREO BANKS                    Complete
       AXXXXXXXX   ANITRA MURPHY             Complete       8     MICHELE RUSSO                 Complete
       1113BDD2E6   BRADDOCK BUCK DEANGELO    Complete       9     LEROY D EARLE III             Complete
       0A5BDF6236   BRYAN MURPHY              Complete      10     DENISE INGRAM                 Complete
       F6CEEFE734   CAMERON CORNELISON        Complete      11     LORENE BANKS                  Complete
       2C3D6535C6   CHARLES JACKLIN           Complete      12     LINDA K LAM                   Complete
       7457060D41   CHARLES RICHARDSON        Complete      13     LISA K LAM                    Complete
       2D675464D7   CHRISTOPHER GALBRAITH     Complete      14     CAROLYN BARBEE                Complete
       7D1F2D7B47   DEANGELO BRADDOCK         Complete      15     CLAUDIA ANDERSEN              Complete
       F16BF035C1   DOREEN M CAOUETTE         Complete      16     MICHEAL T SHEPHERD            Complete
       04AED75C43   DWAYNE HAWKINS-LODGE      Complete      17     KANEICE L STACKHOUSE          Complete
       CAD886200A   EMANUEL HAJEK             Complete      18     CELESTE Y SCHADE              Complete
       EBCCE4518F   GARY RICHARDSON           Complete      19     JAMES E HOUSTON               Complete
       C111B7C04C   GEROD GREEN               Complete      20     JAMES L HATCHER               Complete
       DC5A7CED01   GLENDA JOHNSON            Complete      21     JENNIFER M LONG               Complete
       485D8F69EA   GLENNA O'DELL             Complete      22     KALYNA F JACKSON              Complete
       97A52D8C4A   JAMES COBB                Complete      23     ANITA M JORDAN                Complete
       37D5FC861D   JAMES L NELSON JR         Complete      24     MICHEAL T GOLDSTEIN           Complete
       9E12FA2824   JAMES WALTON              Complete      26     BRENDA GRIMES                 Complete
       1B3A58CE36   JENNIFER SIMONIAN         Complete      27     KEESHIA WHITESIDE JAYNES      Complete
       18C456CD80   JESSICA BROWN             Complete      28     MEGAN J MOORE                 Complete
       8A3F6127C0   JESSICA BROWN             Complete      29     ANTHONY H BALL                Complete
       C5179FA632   JESSICA BROWN             Complete      31     MICHELLE G SETTLES            Complete
       E623AA70EB   KAREN FENNESSEY           Complete      32     JIM SHANNON                   Complete
       264767730C   KIN WAH KUNG              Complete      33     TYEISHA HARRIS                Complete
       344DC93545   MARIA ZAPOLSKI            Complete      34     ANTONIO FORTSON               Complete
       4E38C388EC   MARINA SHLOMOVICH         Complete      35     DEBBIE BELCHER                Complete
       AD69E16E0C   MARY REPINE               Complete      36     KRYSTAL PATE                  Complete
       4E248D3080   MICHAEL BROWN             Complete      37     ANTWON AUSTIN                 Complete
       D5F1F7F5C4   MICHAEL BROWN             Complete      39     RACHEL K. NARR                Complete
       A89FE75E77   MICHELLE SHLOMOVICH       Complete      40     ADAM E. HIPP                  Complete
       E86A9EB8A0   MOHAMAD HAKKANI           Complete      41     KATHERINE A. WENZEL           Complete
       22A8716654   PETRA HAYEK               Complete      42     MICHAEL A. PALUMBO            Complete
       6F6B6BCB5A   PHYLLIS BYRD              Complete      38     DIANA L. ANGUS                  Late
       603EFF417A   RACHELLE REESE            Complete
       E52A4866E2   RICHARD HAYEK             Complete
       CF4B00E930   RONY YARDEN               Complete
       91F80D4144   SHARD MASON               Complete
       2F35BB7580   SHERONDA WILLIAMS         Complete
       2C50A485E7   SMITH TRATICA             Complete
       BC9C044FF3   SONJI LANGFORD            Complete
       6BE7BD15DD   STEPHANIE WARD            Complete
       D2791B6886   TODD DORDAN               Complete
       8E8E55C18E   TRATICA SMITH             Complete
       7FC1C49FA3   SONIA MARTINEZ              Late
       7CFF2C7A31   ROCCO A. CONFORTI JR        Late
       40AE9DB0CC   ROCCO A. CONFORTI JR        Late
       7CFF2C7A31   ROCCO A. CONFORTI JR        Late
       40AE9DB0CC   ROCCO A. CONFORTI JR        Late
       344F34B05A   SONIA MARTINEZ              Late
       342451F4E6   DANIEL FRANCO               Late
       7FC1C49FA3   SONIA MARTINEZ              Late
       342451F4E6   DANIEL FRANCO               Late
       2793CE6AFD   BIANCA M JOYAL              Late
       34904D73FB   CODY THOMSON-ESQUER         Late
